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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DJB HOLDINGS LLC
                Plaintiff,

       v.
DARWIN NATIONAL ASSURANCE                             Civil Action No. 1:17-cv-00613(CKK)
COMPANY,


                Defendant.


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

stipulate and agree to dismiss this action with prejudice, with each party to bear their own costs,

attorney fees, and expenses.



Dated: September 18, 2017                            Respectfully submitted,

 /s/ Jonathan A. Constine                             /s/ Richard D. Milone
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Richard Ambrow (D.C. Bar No. 1002831)                JONES DAY
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                                                     Counsel for Plaintiff DJB Holdings LLC
            Case 1:17-cv-00613-CKK Document 15 Filed 09/18/17 Page 2 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DJB HOLDINGS LLC
                Plaintiff,

       v.
DARWIN NATIONAL ASSURANCE                            Civil Action No. 1:17-cv-00613(CKK)
COMPANY,


                Defendant.


             [PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE

       Upon consideration of the parties’ Joint Stipulation of Dismissal With Prejudice pursuant

to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure (ECF No. 15), it is HEREBY

ORDERED that this action is dismissed with prejudice, with each party to bear their own costs,

attorney fees, and expenses.

       SO ORDERED.



Dated: _____________________                       ____________________________
                                                   COLLEEN KOLLAR-KOTELLY
                                                   United States District Judge




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2017, a true and correct copy of the foregoing was

served on the following via electronic mail:

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       Counsel for Defendant
       Darwin National Assurance Company



Dated: September 18, 2017                          /s/ Richard D. Milone

                                                   Counsel for Plaintiff DJB Holdings LLC




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